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 6
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 7
 8                                 UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA
10
     THERESA BROOKE, a married woman
11   dealing with her sole and separate claim,       Case No:
12                           Plaintiff,              COMPLAINT FOR DAMAGES,
13                                                   DECLARLATORY RELIEF AND
                                                     INJUNCTIVE RELIEF FOR
14   vs.                                             VIOLATIONS OF AMERICANS
                                                     WITH DISABILITIES ACT AND
15
     SANTA CRUZ MISSION HOTEL LP, a                  UNRUH CIVIL RIGHTS ACT
16   California limited partnership dba Fairfield
     Inn & Suites Santa Cruz,
17                                                   (JURY TRIAL DEMANDED)
18                           Defendant.

19            Plaintiff alleges:
20                                            PARTIES
21            1.     Plaintiff Theresa Brooke is a married woman currently residing in Pinal
22   County, Arizona. Plaintiff is and, at all times relevant hereto, has been legally disabled,
23   confined to a wheel chair, and is therefore a member of a protected class under the
24   ADA, 42 U.S.C. § 12102(2), the regulations implementing the ADA set forth at 28 CFR
25   §§ 36.101 et seq., the California Unruh Civil Rights Act. Plaintiff ambulates with the
26   aid of a wheelchair due to the loss of a leg.
27            2.     Defendant, Santa Cruz Mission Hotel LP, owns and/or operates and does
28   business as the hotel, Fairfield Inn & Suites Santa Cruz located at 2956 Mission Street
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 1   in Santa Cruz, California. Defendant’s hotel is a public accommodation pursuant to 42
 2   U.S.C. § 12181(7)(A), which offers public lodging services.
 3                                         INTRODUCTION
 4          3.     Plaintiff Theresa Brooke brings this action against Defendant, alleging
 5   violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et
 6   seq., (the “ADA”) and its implementing regulations and the California Unruh Civil
 7   Rights Act (“Unruh”), California Civil Code §§51, 52.
 8          4.     Plaintiff is a disabled woman confined to a wheelchair and brings this
 9   action for damages and to correct accessibility barriers at Defendant’s hotel.
10   Specifically, Defendant’s hotel does not provide the same room-type choices to
11   disabled Americans as it does for able-bodied persons.
12                                  JURISDICTION AND VENUE
13          5.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
14   U.S.C. § 12188. The Court has supplemental jurisdiction over the state law claims. 28
15   U.S.C. § 1367.
16          6.     Plaintiff’s claims asserted herein arose in this judicial district and
17   Defendant does substantial business in this judicial district.
18          7.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
19   in that this is the judicial district in which a substantial part of the acts and omissions
20   giving rise to the claims occurred.
21                          ALLEGATIONS COMMON TO ALL COUNTS
22          8.     Plaintiff formerly worked in the hospitality industry and her husband
23   works in the travel industry. She and her husband are avid travelers to California for
24   purposes of leisure travel, hearings, settlement conferences, ENE conferences, joint site
25   inspections and to determine if various hotels across the Country comply with disability
26   access laws. She has been to California countless times over the past few years for
27   purposes of checking ADA compliance, leisure travel, and court-related conferences.
28   Plaintiff and her husband are planning on visiting the Bay Area over the next several


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 1   months for purposes of travel, testing ADA compliance and of course for Court-related
 2   hearings and conferences and site inspections.
 3          9.      Due to Plaintiff’s many special needs, she requires the use of lodging
 4   rooms that are accessible to her and have the standard accessibility features such as roll-
 5   in showers, adequate spacing the furniture in the lodging room, grab bars surrounding
 6   the toilet, and other commonly-accepted accessibility features. Plaintiff also seeks
 7   equality in the selection of the same type of lodging rooms that are available to able-
 8   bodied persons.
 9          10.     In anticipation of Plaintiff’s trip, Plaintiff went online to Defendant’s
10   website to rent rooms, also with a motivation to check compliance with disability access
11   rules. Defendant’s website clearly indicates which rooms are accessible rooms and
12   which are not accessible rooms. Defendant offers only two room-type choices: a
13   Standard room with a King bed, and a Standard room with two beds. Plaintiff wanted to
14   rent one of Defendant’s rooms with a King bed as a married woman, but Defendant
15   only offers the two-bed option to persons with disabilities. Deterred, Plaintiff did not
16   reserve the room and will not visit Defendant’s hotel until Defendant makes such rooms
17   available for disabled persons.
18          11.     Plaintiff has actual knowledge of the barrier at Defendant’s hotel, and she
19   is deterred from lodging at Defendant’s hotel when she visits the Bay area later this
20   year. If, however, prior to her trip Defendant corrects the barrier and notifies Plaintiff of
21   the cure, Plaintiff will visit the hotel at issue.
22          12.     Section 224.5 of the 2010 Standards of Accessible Design requires that
23   hotels “shall provide choices of guest rooms, number of beds, and other amenities
24   comparable to the choices provided to other guests.” This includes views and the
25   availability of amenities. Defendant does not provide comparable room-type choices for
26   disabled persons as it does for able-bodied persons, which is common in the hospitality
27   industry.
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 1          13.    Had Defendant provided equality and allowed Plaintiff the same choices
 2   as able-bodied persons, which is required by Section 224.5 of the Standards, Plaintiff
 3   would have booked a room.
 4          14.    Defendant also violates the ADA per se with its refusal to provide certain
 5   rooms to disabled persons, but making such rooms available to able-bodied persons.
 6   This is the type of discrimination and lack of equality the ADA was intended to
 7   eradicate.
 8          15.    Plaintiff’s injury is a continuing one in two respects. First, she is deterred
 9   from lodging at the hotel due to her knowledge of the barrier at the hotel. It is futile for
10   her to visit the hotel and check for compliance and/or lodge at the hotel if the barriers
11   remain. Second, she plans to visit the hotel to ensure her ability to access it and
12   availability of equal room choices if and when she receives notice that the barrier,
13   which denies her full and equal access to the facility, is cured.
14          16.    Plaintiff and other disabled persons have been injured by Defendant’s
15   discriminatory practices and failure to remove architectural barriers. These injuries
16   include being deterred from using Defendant’s hotel due to the lack of room choice
17   similar to choice for able-bodied persons.
18          17.    Without injunctive relief, Plaintiff and others will continue to be unable to
19   independently use Defendant’s hotel in violation of her rights under the ADA.
20          18.    Other potential violations and barriers to entry at Defendant’s hotel may
21   be discovered through an expert inspection of the hotel property pursuant to Rule 34. So
22   as to avoid piecemeal litigation to ensure full access to the entirety of the property at
23   issue, Plaintiff will amend her complaint to allege and all additional barriers discovered
24   during the Rule 34 inspection. Doran v. 7-Eleven, 524 F.3d 1034 (9th Cir. 2008).
25                                   FIRST CAUSE OF ACTION
                   (Violation of Title III the Americans with Disabilities Act)
26
27          19.    Plaintiff incorporates all allegations heretofore set forth.

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 1          20.      Defendant has discriminated against Plaintiff and others in that it has
 2   failed to make its public lodging services fully accessible to, and independently usable
 3   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 4   121282(b)(2)(iv) and the 2010 Standards, as described above.
 5          21.      Defendant has discriminated against Plaintiff in that it has not provided
 6   Plaintiff equal choice among the room types at the hotel in violation of 42 U.S.C.
 7   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 8   requirements of section 224.5 of the 2010 Standards would neither fundamentally alter
 9   the nature of Defendant’s lodging services nor result in an undue burden to Defendant,
10   as altering a non-accessible room to an accessible room is a simple endeavor that does
11   not require structural construction.
12          22.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
13   as described above, is readily achievable by the Defendant due to the low costs of
14   modifying a non-accessible room. Readily achievable means that providing access is
15   easily accomplishable without significant difficulty or expense.
16          23.      Defendant’s conduct is ongoing, and, given that Defendant has never fully
17   complied with the ADA’s requirements that public accommodations make lodging
18   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
19   invokes her statutory right to declaratory and injunctive relief, as well as costs and
20   attorneys’ fees.
21          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
22                a. A Declaratory Judgment that at the commencement of this action
23                   Defendant was in violation of the specific requirements of Title III of the
24                   ADA described above, and the relevant implementing regulations of the
25                   ADA, in that Defendant took no action that was reasonably calculated to
26                   ensure that its lodging rooms were equally distributed to disabled persons;
27                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
28                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)


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 1                  and 28 CFR § 36.504(a) which directs Defendant to take all steps
 2                  necessary to bring its lodging rooms into full compliance with the
 3                  requirements set forth in the ADA, and its implementing regulations, so
 4                  that the lodging rooms are fully accessible to, and independently usable
 5                  by, disabled individuals, and which further directs that the Court shall
 6                  retain jurisdiction for a period to be determined after Defendant certifies
 7                  that its lodging rooms are fully in compliance with the relevant
 8                  requirements of the ADA to ensure that Defendant has adopted and is
 9                  following an institutional policy that will in fact cause Defendant to
10                  remain fully in compliance with the law;
11               c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
12                  applicable, payment of costs of suit;
13               d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
14                  applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
15                  CFR § 36.505 and other principles of law and equity and in compliance
16                  with the “prevailing party” and “material alteration” of the parties’
17                  relationship doctrines; and,
18               e. Order closure of the Defendant’s place of public accommodation until
19                  Defendant has fully complied with the ADA; and
20               f. The provision of whatever other relief the Court deems just, equitable and
21                  appropriate.
22                                SECOND CAUSE OF ACTION
        (Violation of the California Unruh Civil Rights Act, Cal. Civ. Code §§51, 52)
23
24         24.      Plaintiff realleges all allegations heretofore set forth.
25         25.      Defendant has violated the Unruh by denying Plaintiff equal access to its
26   public accommodation on the basis of her disability as outlined above.
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 1          26.      Unruh provides for declaratory and monetary relief to “aggrieved
 2   persons” who suffer from discrimination on the basis of their disability.
 3          27.      Plaintiff has been damaged by the Defendant’s non-compliance with
 4   Unruh.
 5          28.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
 6   relief as the Court considers appropriate, including monetary damages in an amount to
 7   be proven at trial, but in no event less than $4,000.00.
 8          29.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 9   amount to be proven at trial.
10          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
11                a. A Declaratory Judgment that at the commencement of this action
12                   Defendant was in violation of the specific requirements of Unruh; and
13                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
14                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
15                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
16                   necessary to bring its lodging rooms into full compliance with the
17                   requirements set forth in the ADA, and its implementing regulations, so
18                   that the lodging rooms are fully accessible to, and independently usable
19                   by, disabled individuals, and which further directs that the Court shall
20                   retain jurisdiction for a period to be determined after Defendant certifies
21                   that its lodging rooms are fully in compliance with the relevant
22                   requirements of the ADA to ensure that Defendant has adopted and is
23                   following an institutional policy that will in fact cause Defendant to
24                   remain fully in compliance with the law;
25                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
26                   applicable, payment of costs of suit;
27                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
28                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28


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 1                 CFR § 36.505 and other principles of law and equity and in compliance
 2                 with the “prevailing party” and “material alteration” of the parties’
 3                 relationship doctrines; and,
 4             e. Order closure of the Defendant’s place of public accommodation until
 5                 Defendant has fully complied with the Unruh; and
 6             f. For damages in an amount no less than $4,000.00; and
 7             g. The provision of whatever other relief the Court deems just, equitable and
 8                 appropriate.
 9                                  DEMAND FOR JURY TRIAL
10          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
11   demands a jury trial on issues triable by a jury.
12
13          RESPECTFULLY SUBMITTED this 15th day of October, 2019.
14                                                /s/ P. Kristofer Strojnik
15                                                P. Kristofer Strojnik (242728)
                                                  Attorneys for Plaintiff
16
17
18
                       VERIFICATION COMPLIANT WITH R10-3-405
19
20          I declare under penalty of perjury that the foregoing is true and correct.

21                        DATED this 15th day of October, 2019.
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